                         UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

                                  DOCKET NO. 3:13CR112-MOC

UNITED STATES OF AMERICA,                          )
                                                   )             ORDER AMENDING
                v.                                 )            CONSENT ORDER AND
                                                   )          JUDGMENT OF FORFEITURE
(2) LANE MATTHEW CLONINGER                         )               (BY CONSENT)

       On the government’s motion, and by defendant’s consent, the Consent Order and
Judgment of forfeiture filed herein on July 15, 2013 (Doc. 44), is hereby amended to read as
follows:

        1.     The following property is forfeited to the United States pursuant to 18 U.S.C. §
982, 21 U.S.C. § 853 and/or 28 U.S.C. § 2461(c), provided, however, that forfeiture of specific
assets is subject to any and all third party petitions under 21 U.S.C. § 853(n), pending final
adjudication herein:

        The sum of $20,000 as a substitute res for real property located at 2440 Morton
        Street, Charlotte, North Carolina; and

        The sum of $150,000 as a substitute res for other assets subject to forfeiture herein.

       2.       The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3.      If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written
notice of forfeiture.

        4.      Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

        5.      Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.      As to any specific assets, following the Court’s disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.




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        The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of Defendant’s crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore subject to forfeiture
pursuant to 18 U.S.C. § 982, 21 U.S.C. § 853 and/or 28 U.S.C. § 2461(c). The Defendant hereby
waives the requirements of Fed. R. Crim. P. 32.2 and 43(a) regarding notice of the forfeiture in
the charging instrument, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment against Defendant. If the Defendant has previously submitted a claim
in response to an administrative forfeiture proceeding regarding any of this property, Defendant
hereby withdraws that claim. If Defendant has not previously submitted such a claim, Defendant
hereby waives all right to do so. As to any firearms listed above and/or in the charging
instrument, Defendant consents to destruction by federal, state, or local law enforcement
authorities upon such legal process as they , in their sole discretion deem to legally sufficient,
and waives any and all right to further notice of such process or such destruction.


 Signed: November 26, 2013




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